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                                                                                          United States District Court
                                                                                            Southern District of Texas
                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS                                    ENTERED
                                  BROWNSVILLE DIVISION                                        March 07, 2019
                                                                                            David J. Bradley, Clerk
  UNITED STATES OF AMERICA                           §

  VS.                                                §        CASE NO.:       B-19-MJ-306-01

  Gerardo Rodriguez-Lois                             §

                                              JUDGMENT

On March 7, 2019, defendant appeared in person and with appointed counsel, Rudy Rodriguez,
Assistant Federal Public Defender.

Whereupon the defendant entered a plea of guilty to the offense being there and then a detainee held in
custody or confinement under the laws of the United States, did willfully, knowingly, and unlawfully escape
from a facility where he was being held for immigration proceedings, as charged in the Criminal Complaint;
and the Court having asked the defendant whether he had anything to say why judgment should not
pronounced, and no sufficient cause to the contrary being shown or appearing to the Court;

IT IS ADJUDGED that the defendant is guilty as charged and convicted.

The defendant is hereby sentenced to time served with one (1) year of Supervised Release (SRT)
without supervision and a special assessment of $25.00 is imposed.

DONE at Brownsville, Texas, on March 7, 2019.



                                                    __________________________________
                                                               Ronald G. Morgan
                                                          United States Magistrate Judge



                                           R E T U R N

I have executed the within Judgment and Commitment as follows:
        Defendant delivered on ___________________ to __________________________________
at _____________________________________, with a certified copy of the Judgment.

                                      By: _______________________________,
                                                     Deputy U.S. Marshal
